                Case 2:23-bk-14140-BB                    Doc 1 Filed 06/30/23 Entered 06/30/23 20:25:35                                    Desc
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Fill in this information to identify your case:


United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                RTMS 4107 Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Meineke Car Care Center
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2438 Silverstrand
                                  Hermosa Beach, CA 90254
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  770 Lawrence Dr. San Luis Obispo, CA 93401
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       None.


6.   Type of debtor                    Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                       Partnership (excluding LLP)
                                       Other. Specify:




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Debtor    RTMS 4107 Inc.                                                                               Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 8111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the                Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
                                           Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     a “small business debtor”)                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     must check the second                                       debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     sub-box.                                                    proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known

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Debtor   RTMS 4107 Inc.                                                                            Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?                       Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any          Yes.
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                     $50,001 - $100,000                              $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                More than $50 billion




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               Case 2:23-bk-14140-BB                                        Doc 1 Filed 06/30/23 Entered 06/30/23 20:25:35                                                                    Desc
                                                                            Main Document    Page 7 of 41
 Fill in this information to identify the case:

 Debtor name            RTMS 4107 Inc.

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            86,500.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            86,500.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            10,786.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            11,027.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           249,352.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             271,165.00




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         RTMS 4107 Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Bank of America                                         Checking                        2055                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                      $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Security deposit with Phillip G. Tate as part of commercial lease for Meineke Care Center at
                    770 Lawrence Drive, Suites 100-300 (the entire building), San Luis Obispo, CA. 7,500
           7.1.     square foot warehouse.                                                                                                           $6,500.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

 9.        Total of Part 2.
                                                                                                                                                 $6,500.00
           Add lines 7 through 8. Copy the total to line 81.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor         RTMS 4107 Inc.                                                                Case number (If known)
                Name

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See the addendum.                                                                $0.00                                      $80,000.00



 51.       Total of Part 8.
                                                                                                                                   $80,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         RTMS 4107 Inc.                                                               Case number (If known)
                Name



 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 3
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 Debtor          RTMS 4107 Inc.                                                                                     Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                    $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $6,500.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                  $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                     $80,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                             $86,500.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                  $86,500.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                           page 4
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MEINEKE CAR CARE CENTER #4107
Equipment List


                     Part Description                Quantity Lease (Y)
MIDTRONICS MDX-257 ELECTRICAL ANALYZER                      1
RIGID SHOP VAC                                              1
MIGHTY VAC FLUID EVACUATOR                                  1
MIGHTY VAC PRESSURIZED FLUID FILLER                         2
RANGER 10 TON OIL FILTER CRUSHER                            1
ROBINAIR AC MACHINE SER# 21276339                           1
ROBINAIR COOLANT EXCHANGER SER# 206033                      1
Intoxalock Calibration Computer                             1
ROBINAIR TRANS FLUID EXCHANGER MODEL 92500                  1
FIREPOWER 3IN1 WELDER MST140I                               1
SnapOn V3400 Wireless Imaging Wheel Alignment Syst.                   1
Ingersoll Rand Air Compressor SER # NAR10058697             1
Bearing Press                                               1
Branick 7200 Strut Compressor                               1
ROATING ENGINE STAND                                        1
Rolling Oil Drain Dollies                                   2
Transmission Jacks                                          2
3 1/2 Ton Floor Jacks                                       1
AMCO BRAKE LATHE                                            1
Shumacher 200 Amp Battery Charger                           1
Pole Jack Stands                                            1
BENDPAK 10K 2 POST LIFT                                     6
BENDPAK 14K DRIVE ON ALIGNMENT LIFT                         1
OTC Diagnostic Scanner                                      1
Shop Tool Cart                                              1
Leak Tamer Smoke Machine                                    1
Mighty Vac Shop Vac                                         1
Cherry Picker (for Engines/ Trans)                          1
Parts Washer                                                1
Computer Systems (Monitor, Desktop, Mouse, Keyboard)        4
HP Laserjet P1109w Printers                                 2
CEMB TIRE CHANGER SER# 07150300067                          1
CEMB TIRE BALANCER SER# E0009447                            1
SUNEX 5001A BENCH GRINDER                                   1
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 Fill in this information to identify the case:

 Debtor name         RTMS 4107 Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       California Department of Tax
 2.1
       and Fee Adm                                   Describe debtor's property that is subject to a lien                      $8,320.00               $80,000.00
       Creditor's Name                               See the addendum.

       PO Box 942879
       Sacramento, CA 94279-0055
       Creditor's mailing address                    Describe the lien
                                                     UCC Tax Lien
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       01/23/2023                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5924
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. MCCC 4052, Inc.
       2. California Department of
       Tax and Fee Adm

       California Department of Tax
 2.2
       and Fee Adm                                   Describe debtor's property that is subject to a lien                      $1,252.00               $80,000.00
       Creditor's Name                               See the addendum.

       PO Box 942879
       Sacramento, CA 94279-0055
       Creditor's mailing address                    Describe the lien
                                                     UCC Tax Lien
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       05/23/2023                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6122
       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
          No                                            Contingent

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       RTMS 4107 Inc.                                                                           Case number (if known)
              Name

            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.6

        California Department of Tax
 2.3
        and Fee Adm                                  Describe debtor's property that is subject to a lien                        $1,214.00           $80,000.00
        Creditor's Name                              See the addendum.

        PO Box 942879
        Sacramento, CA 94279-0055
        Creditor's mailing address                   Describe the lien
                                                     UCC Tax Lien
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
        06/20/2023                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        7029
        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.
        Specified on line 2.6

 2.4    MCCC 4052, Inc.                              Describe debtor's property that is subject to a lien                           $0.00            $80,000.00
        Creditor's Name                              All accounts, inventory, contract rights, chattel
                                                     paper, instruments, etc. This UCC applies to
                                                     Richard L. Taw, III as an individual and assets
                                                     related Meineke Car Care Center #4052 which
        1261 Travis Blvd. STE 210                    may not apply to the assets of this Debtor.
        Fairfield, CA 94533
        Creditor's mailing address                   Describe the lien
                                                     UCC
                                                     Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known               Yes
                                                     Is anyone else liable on this claim?
        Date debt was incurred                           No
        12/04/2018                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number
        0002
        Do multiple creditors have an                As of the petition filing date, the claim is:
        interest in the same property?               Check all that apply
            No                                          Contingent
            Yes. Specify each creditor,                 Unliquidated
        including this creditor and its relative        Disputed
        priority.
        Specified on line 2.6


 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.               $10,786.00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
              Case 2:23-bk-14140-BB                           Doc 1 Filed 06/30/23 Entered 06/30/23 20:25:35                                             Desc
                                                              Main Document    Page 15 of 41
 Fill in this information to identify the case:

 Debtor name         RTMS 4107 Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00      $0.00
           Employment Development                                    Check all that apply.
                                                                        Contingent
           Department
                                                                        Unliquidated
           Employment Development
                                                                        Disputed
           Department
           Legal Office
           800 Capital Mall, MIC 53
           Sacramento, CA 95814
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                      $11,027.00          $0.00
           Franchise Tax Board Bankruptcy                            Check all that apply.
                                                                        Contingent
           Section,
                                                                        Unliquidated
           MS: A-340
                                                                        Disputed
           PO Box 2952
           Sacramento, CA 95812-2952
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00      $0.00
           Internal Revenue Service                                  Check all that apply.
                                                                        Contingent
           PO Box 7346
                                                                        Unliquidated
           Philadelphia, PA 19101-7346
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 6
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 Debtor       RTMS 4107 Inc.                                                                          Case number (if known)
              Name



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $275.00
           Alpha Fire Unlimited
                                                                                Contingent
           650 Sweeney Ln.                                                      Unliquidated
           San Luis Obispo, CA 93401                                            Disputed
           Date(s) debt was incurred 2022                                    Basis for the claim:    Service
           Last 4 digits of account number 4107                              Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,288.00
           Aramark
                                                                                Contingent
           1101 Market Street                                                   Unliquidated
           Philadelphia, PA 19107                                               Disputed
           Date(s) debt was incurred 2022-2023                               Basis for the claim:    Services
           Last 4 digits of account number 7826                              Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $6,634.00
           Autozone Inc.
                                                                                Contingent
           PO Box 10                                                            Unliquidated
           Memphis, TN 38101                                                    Disputed
           Date(s) debt was incurred     2022                                Basis for the claim:    Parts
           Last 4 digits of account number      3781                         Is the claim subject to offset?      No         Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $21,664.00
           Bank of America
                                                                                Contingent
           100 North Tryon Street                                               Unliquidated
           Charlotte, NC 28255                                                  Disputed
           Date(s) debt was incurred 2022-2023                               Basis for the claim:    Credit card purchases
           Last 4 digits of account number 6681                              Is the claim subject to offset?      No         Yes


 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,375.00
           Cal State Auto Parts
                                                                                Contingent
           1361 N. Gum St.                                                      Unliquidated
           Anaheim, CA 92806                                                    Disputed
           Date(s) debt was incurred     2022                                Basis for the claim:    Parts
           Last 4 digits of account number      4585                         Is the claim subject to offset?      No         Yes


 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $22,081.00
           Chevron
                                                                                Contingent
           6001 Bollinger Canyon Road                                           Unliquidated
           San Ramon, CA 94583                                                  Disputed
           Date(s) debt was incurred 2022-2023                               Basis for the claim:    Fuel
           Last 4 digits of account number 4788                              Is the claim subject to offset?      No         Yes


 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $407.00
           City of San Luis Obispo
                                                                                Contingent
           990 Palm St.                                                         Unliquidated
           San Luis Obispo, CA 93401                                            Disputed
           Date(s) debt was incurred 2022-2023                               Basis for the claim:    Utilities
           Last 4 digits of account number 1000                              Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 6
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 Debtor       RTMS 4107 Inc.                                                                          Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $339.00
          City of San Luis Obispo
          Atn: Finance Dept.
                                                                                Contingent
          990 Palm St.                                                          Unliquidated
          San Luis Obispo, CA 93401                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim:
          Last 4 digits of account number 3111                               Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,881.00
          Clean Tech
                                                                                Contingent
          5820 Martin Road                                                      Unliquidated
          Baldwin Park, CA 91706                                                Disputed
          Date(s) debt was incurred 2022-2023                                Basis for the claim:    Services
          Last 4 digits of account number eSLO                               Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $1,206.00
          County Government Center
                                                                                Contingent
          1055 Monterey Street                                                  Unliquidated
          San Luis Obispo, CA 93408                                             Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim:    Service
          Last 4 digits of account number 2003                               Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Econo Lube N' Tune, LLC
                                                                                Contingent
          135 Washburn Cir.                                                     Unliquidated
          Corona, CA 92882                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Lawsuit
          Last 4 digits of account number       WKSx                         Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $430.00
          Independence Environmental Services
                                                                                Contingent
          3521 S. Maple Ave.                                                    Unliquidated
          Fresno, CA 93725                                                      Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim:    Service
          Last 4 digits of account number 2111                               Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Joe Murphy
          c/o Jacoby & Meyers Attorneys LLP
          Attn: Sharona Safaradi
                                                                                Contingent
          10900 Wilshire Blvd, 15th Floor                                       Unliquidated
          Los Angeles, CA 90024                                                 Disputed
          Date(s) debt was incurred 09/20/2022                               Basis for the claim:    Tort claim re Meineke Car Care Center
          Last 4 digits of account number 4584                               Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $65,306.00
          JP Morgan Chase
                                                                                Contingent
          270 Park Avenue                                                       Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred      2022-2023                           Basis for the claim:    Credit card purchases
          Last 4 digits of account number    0271                            Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $65,306.00
          JPMorgan Chase Bank
                                                                                Contingent
          9200 Oakdale Ave.                                                     Unliquidated
          Chatsworth, CA 91311                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Credit card purchases
          Last 4 digits of account number       0271                         Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 6
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 Debtor       RTMS 4107 Inc.                                                                          Case number (if known)
              Name

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $177.00
          LKQ Corp Auto Parts
                                                                                Contingent
          3333 Peck Road                                                        Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred      2022                                Basis for the claim:    Service
          Last 4 digits of account number       Care                         Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          Unknown
          Meineke Franchisor SPV LLC
          440 South Church Street
                                                                                Contingent
          Suite 700                                                             Unliquidated
          Charlotte, NC 28202-2059                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:    Lawsuit
          Last 4 digits of account number       WKSx                         Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $128.00
          Napa Auto Parts
                                                                                Contingent
          5420 Peachtree Industrial Blvd.                                       Unliquidated
          Norcross, GA 30071                                                    Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim:    Auto parts
          Last 4 digits of account number 3168                               Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $5,937.00
          O'Reilly Auto Parts
                                                                                Contingent
          233 S. Patterson Ave.                                                 Unliquidated
          Springfield, MO 65802                                                 Disputed
          Date(s) debt was incurred      2022-2023                           Basis for the claim:    Auto parts
          Last 4 digits of account number    2016                            Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $2,061.00
          Pacific Gas and Electric Company
                                                                                Contingent
          77 Beale St.                                                          Unliquidated
          San Francisco, CA 94105                                               Disputed
          Date(s) debt was incurred 2022-2023                                Basis for the claim:    Utility
          Last 4 digits of account number 1036                               Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $49,399.00
          Phillip G. Tate
                                                                                Contingent
          PO Box 2369                                                           Unliquidated
          Nipomo, CA 93444                                                      Disputed
          Date(s) debt was incurred      2022-2023                           Basis for the claim:    Lease
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $580.00
          San Luis Garbage Company
                                                                                Contingent
          4388 Old Sante Fe Rd.                                                 Unliquidated
          San Luis Obispo, CA 93401                                             Disputed
          Date(s) debt was incurred 2022-2023                                Basis for the claim:    Service
          Last 4 digits of account number 5750                               Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $114.00
          Scott O'Brien Fire & Safety Inc.
                                                                                Contingent
          5540 Nogales Ave.                                                     Unliquidated
          Atascadero, CA 93422                                                  Disputed
          Date(s) debt was incurred 2022                                     Basis for the claim:    Service
          Last 4 digits of account number 5280                               Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 6
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 Debtor        RTMS 4107 Inc.                                                                         Case number (if known)
               Name

 3.24       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                     $44.00
            Securitas Technology
                                                                                Contingent
            514 S. Lyon St.                                                     Unliquidated
            Santa Ana, CA 92701                                                 Disputed
            Date(s) debt was incurred    2022                                Basis for the claim:    Services
            Last 4 digits of account number     7527                         Is the claim subject to offset?         No       Yes


 3.25       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.               $1,080.00
            So Cal Gas
                                                                                Contingent
            2240 Emily St., Suite 140                                           Unliquidated
            San Luis Obispo, CA 93401                                           Disputed
            Date(s) debt was incurred 2022-2023                              Basis for the claim:    Utilities
            Last 4 digits of account number 7578                             Is the claim subject to offset?         No       Yes


 3.26       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 $250.00
            Spectrum
                                                                                Contingent
            12051 Industry St.                                                  Unliquidated
            Garden Grove, CA 92841                                              Disputed
            Date(s) debt was incurred 2022-2023                              Basis for the claim:    Utility
            Last 4 digits of account number 1923                             Is the claim subject to offset?         No       Yes


 3.27       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                 $390.00
            State of California
            Department of Industrial Relations
                                                                                Contingent
            PO Box 511266                                                       Unliquidated
            Los Angeles, CA 90051-7821                                          Disputed
            Date(s) debt was incurred 2022                                   Basis for the claim:    Service
            Last 4 digits of account number 78AH                             Is the claim subject to offset?         No       Yes



 Part 3:       List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

            Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1        California Department of Tax and Fee Adm
            PO Box 942879                                                                             Line     2.2                                   0445
            Sacramento, CA 94279-0001
                                                                                                             Not listed. Explain

 4.2        Pacifica Commercial Realty
            2520 Professional Parkway                                                                 Line     3.21
            Santa Maria, CA 93455
                                                                                                             Not listed. Explain

 4.3        Transworld Systems
            500 Virginia Dr.                                                                          Line     3.15                                  1219
            STE 514
                                                                                                             Not listed. Explain
            Fort Washington, PA 19034-2733


 Part 4:       Total Amounts of the Priority and Nonpriority Unsecured Claims

5.     Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                      11,027.00
 5b. Total claims from Part 2                                                                            5b.     +    $                     249,352.00



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 5 of 6
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              Name


 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                         5c.     $             260,379.00




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                               Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         RTMS 4107 Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal           Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   770 Lawrence Drive, San
             lease is for and the nature of               Luis Obispo, CA 93401
             the debtor's interest                        7500 square foot
                                                          warehouse for Meineke
                                                          franchise location.
                 State the term remaining                 Initial five year term in
                                                          lease dated August 20,
                                                          2023 with lease
                                                          extension terms of 3/5
                                                          years.                      Phillip Tate
             List the contract number of any                                          PO Box 2369
                   government contract                                                Nipomo, CA 93444


 2.2.        State what the contract or                   Franchise Agreement
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 NA
                                                                                      Meineke Franchisor SPV LLC
             List the contract number of any                                          440 South Church Street, Suite 700
                   government contract                                                Charlotte, NC 28202




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                              Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         RTMS 4107 Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:
     2.3     Meineke Car                       440 S. Church St., Suite 700                     Joe Murphy                          D
             Center, LLC                       Charlotte, NC 28202                                                                  E/F       3.13
                                               Unfiled lawsuit                                                                      G



     2.4     Meineke Car                       440 S. Church St., Suite 700                     Econo Lube N' Tune,                 D
             Center, LLC                       Charlotte, NC 28202                              LLC                                 E/F       3.11
                                               Unfiled lawsuit                                                                      G



     2.5     Richard L. Taw                    2436 Silverstrand Avenue                         Meineke Franchisor                  D
                                               Hermosa Beach, CA 90254                          SPV LLC                             E/F       3.17
                                               Promissory note for $200,000 dated October                                           G
                                               31, 2018



     2.6     Richard L. Taw                    2436 Silverstrand Avenue                         MCCC 4052, Inc.                     D   2.4
                                               Hermosa Beach, CA 90254                                                              E/F
                                               Promissory note for $200,000 dated October                                           G
                                               31, 2018



     2.7     Richard L. Taw                    2436 Silverstrand Avenue                         Phillip G. Tate                     D
                                               Hermosa Beach, CA 90254                                                              E/F       3.21
                                               Promissory note for $200,000 dated October                                           G
                                               31, 2018



     2.8     Richard Taw                       2438 Silverstrand Ave.                           Joe Murphy                          D
                                               Hermosa Beach, CA 90254                                                              E/F       3.13
                                                                                                                                    G




Official Form 206H                                                        Schedule H: Your Codebtors                                          Page 1 of 2
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 Debtor       RTMS 4107 Inc.                                                            Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor

     2.9     Richard Taw                       2438 Silverstrand Ave.                        Econo Lube N' Tune,        D
                                               Hermosa Beach, CA 90254                       LLC                        E/F       3.11
                                                                                                                        G



             RTMS #4052                        2438 Silverstrand Ave.                        Joe Murphy                 D
    2.10                                       Hermosa Beach, CA 90254                                                  E/F       3.13
                                                                                                                        G



             RTMS #4052                        2438 Silverstrand Ave.                        Econo Lube N' Tune,        D
    2.11                                       Hermosa Beach, CA 90254                       LLC                        E/F       3.11
                                                                                                                        G



             RTMS #4052, Inc.                  2011 N. Oxnard Blvd.                          Meineke Franchisor         D
    2.12                                       Oxnard, CA 93036                              SPV LLC                    E/F       3.17
                                                                                                                        G



             Thu Vu                            1261 Travis Road                              Phillip Tate               D
    2.13                                       Office 210                                                               E/F
                                               Fairfield, CA 94533                                                      G   2.1
                                               Sublessor




Official Form 206H                                                       Schedule H: Your Codebtors                               Page 2 of 2
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                                                              Main Document    Page 24 of 41



 Fill in this information to identify the case:

 Debtor name         RTMS 4107 Inc.

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA, SANTA ANA DIVISION

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  $2,787.00
       From 01/01/2023 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $280,604.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $423,358.00
       From 01/01/2021 to 12/31/2021
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
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 Debtor      RTMS 4107 Inc.                                                                             Case number (if known)



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property

       Phillip Tate                                             770 Lawrence Drive. Suites 100-130Furniture                    May 2023                    Unknown
       PO Box 2369                                              and fixtures were left at the property
       Nipomo, CA 93444

       California Department of Tax and                         Funds                                                          8/16/22Legal                Unknown
       Fees                                                                                                                    Order, LTS
       4820 McGrath St.                                                                                                        D0816220004
       Suite 260                                                                                                               46-868.454/28/
       Ventura, CA 93003-7778                                                                                                  22Legal Order,
                                                                                                                               LTS
                                                                                                                               P04282200011
                                                                                                                               9-5570.149/30/
                                                                                                                               22Legal Order,
                                                                                                                               LTS
                                                                                                                               P09302200040
                                                                                                                               8-387.712/2/22
                                                                                                                               CA DEPT TAX
                                                                                                                               FEE
                                                                                                                               DES:CDTFA
                                                                                                                               EPMT
                                                                                                                               ID:10375414
                                                                                                                               INDN:RTMS
                                                                                                                               #4107,
                                                                                                                               1/18/23Legal
                                                                                                                               Order, LTS
                                                                                                                               P01182300054
                                                                                                                               1-$112.

       Union Bank                                               Funds                                                          April-May 2023             $1,200.00
       1251 Avenue of the Americas
       New York, NY 10020


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was               Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.



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 Debtor       RTMS 4107 Inc.                                                                               Case number (if known)




           None.

               Case title                                       Nature of case               Court or agency's name and             Status of case
               Case number                                                                   address
       7.1.    Meineke Franchisor SPV LLC                                                    Central District of California                Pending
               and Econo Lube N' Tune LLC                                                                                                  On appeal
               vs. Richard L. Taw III, RTMS                                                                                                Concluded
               #4052, Inc. and RTMS #4107,
               Inc.
               2:22-cv-08737 ODW (KSx)

       7.2.    Phillip G. Tate & Seiglinde Tate,                                             Superior Court - County of                    Pending
               Co-Trustees of the Tate Family                                                San Luis Obispo                               On appeal
               Trust Dated October 2, 2014 v.                                                1035 Palm St.                                 Concluded
               RTMS #4107, Inc. DBA                                                          San Lui Obispo, CA 93446
               Meineke Car Care Center;
               Richard Taw; Does 1 through
               10
               22LC-0833

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




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                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     DiMarco Warshaw, APLC
                 PO Box 704                                                                                                    June 19,
                 San Clemente, CA 92674                              $1,500                                                    2023                      $1,500.00

                 Email or website address
                 DiMarcoWarshaw.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers             Total amount or
                                                                                                                       were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer             Total amount or
               Address                                          payments received or debts paid in exchange              was made                           value

  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                 Facility name and address                      Nature of the business operation, including type of services              If debtor provides
                                                                the debtor provides                                                       meals and housing,
                                                                                                                                          number of patients in
                                                                                                                                          debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.




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17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or           Date account was          Last balance
              Address                                           account number            instrument                   closed, sold,         before closing or
                                                                                                                       moved, or                      transfer
                                                                                                                       transferred
       18.1.    Bank of America                                 XXXX-2068                    Checking                  January 2023                        $1.20
                1200 Highland Ave.                                                           Savings
                Manhattan Beach, CA 90266                                                    Money Market
                                                                                             Brokerage
                                                                                             Other Payroll


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents         Does debtor
                                                                     access to it                                                             still have it?


 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.
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22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Mike Mastic                                                                                                                Since the company
                    727 2nd St.                                                                                                                was formed
                    Suite 201
                    Hermosa Beach, CA 90254

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

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27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Richard Taw                                   2436 Silverstand                                     President                             100
                                                     Hermosa Beach, CA 90254



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the pension
                                                                                                               fund




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B2030 (Form 2030) (12/15)
                                                                        United States Bankruptcy Court
                                                             Central District of California, Santa Ana Division
 In re       RTMS 4107 Inc.                                                                                                                        Case No.
                                                                                                           Debtor(s)                               Chapter    7

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that compensation
       paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on
       behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept ....................................................................                  $                  1,500.00
             Prior to the filing of this statement I have received .......................................................                     $                  1,500.00
             Balance Due ...................................................................................................................   $                      0.00

2.     The source of the compensation paid to me was:
                   Debtor                      Other (specify):

3.     The source of compensation to be paid to me is:
                   Debtor                      Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A copy
            of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of reaffirmation
                 agreements and applications as needed; preparation and filing of motions pursuant to 11 USC 522(f)(2)(A) for avoidance of
                 liens on household goods.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.
                                                                                             CERTIFICATION
     I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in this
 bankruptcy proceeding.

     June 30, 2023                                                                                        /s/ Andy Warshaw
     Date                                                                                                 Andy Warshaw
                                                                                                          Signature of Attorney
                                                                                                          DiMarco Warshaw, APLC
                                                                                                          PO Box 704
                                                                                                          San Clemente, CA 92674
                                                                                                          (949) 345-1455 Fax: (949) 417-9412
                                                                                                          andy@dimarcowarshaw.com
                                                                                                          Name of law firm




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                          Alpha Fire Unlimited
                          650 Sweeney Ln.
                          San Luis Obispo, CA 93401


                          Aramark
                          1101 Market Street
                          Philadelphia, PA 19107


                          Autozone Inc.
                          PO Box 10
                          Memphis, TN 38101


                          Bank of America
                          100 North Tryon Street
                          Charlotte, NC 28255


                          Cal State Auto Parts
                          1361 N. Gum St.
                          Anaheim, CA 92806


                          California Department of Tax and Fee Adm
                          PO Box 942879
                          Sacramento, CA 94279-0055


                          California Department of Tax and Fee Adm
                          PO Box 942879
                          Sacramento, CA 94279-0001


                          Chevron
                          6001 Bollinger Canyon Road
                          San Ramon, CA 94583
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                          City of San Luis Obispo
                          990 Palm St.
                          San Luis Obispo, CA 93401


                          City of San Luis Obispo
                          Atn: Finance Dept. 990 Palm St.
                          San Luis Obispo, CA 93401


                          Clean Tech
                          5820 Martin Road
                          Baldwin Park, CA 91706


                          County Government Center
                          1055 Monterey Street
                          San Luis Obispo, CA 93408


                          Econo Lube N' Tune, LLC
                          135 Washburn Cir.
                          Corona, CA 92882


                          Employment Development Department
                          Employment Development Department
                          Legal Office 800 Capital Mall, MIC 53
                          Sacramento, CA 95814


                          Franchise Tax Board Bankruptcy Section,
                          MS: A-340 PO Box 2952
                          Sacramento, CA 95812-2952


                          Independence Environmental Services
                          3521 S. Maple Ave.
                          Fresno, CA 93725
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                          Internal Revenue Service
                          PO Box 7346
                          Philadelphia, PA 19101-7346


                          Joe Murphy
                          Attn: Sharona Safaradi
                          c/o Jacoby & Meyers Attorneys LLP 10900
                          Los Angeles, CA 90024


                          JP Morgan Chase
                          270 Park Avenue
                          New York, NY 10017


                          JPMorgan Chase Bank
                          9200 Oakdale Ave.
                          Chatsworth, CA 91311


                          LKQ Corp Auto Parts
                          3333 Peck Road
                          Monrovia, CA 91016


                          MCCC 4052, Inc.
                          1261 Travis Blvd. STE 210
                          Fairfield, CA 94533


                          Meineke Car Center, LLC
                          440 S. Church St., Suite 700
                          Charlotte, NC 28202


                          Meineke Franchisor SPV LLC
                          440 South Church Street Suite 700
                          Charlotte, NC 28202-2059
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                          Meineke Franchisor SPV LLC
                          440 South Church Street, Suite 700
                          Charlotte, NC 28202


                          Napa Auto Parts
                          5420 Peachtree Industrial Blvd.
                          Norcross, GA 30071


                          O'Reilly Auto Parts
                          233 S. Patterson Ave.
                          Springfield, MO 65802


                          Pacific Gas and Electric Company
                          77 Beale St.
                          San Francisco, CA 94105


                          Pacifica Commercial Realty
                          2520 Professional Parkway
                          Santa Maria, CA 93455


                          Phillip G. Tate
                          PO Box 2369
                          Nipomo, CA 93444


                          Phillip Tate
                          PO Box 2369
                          Nipomo, CA 93444


                          Richard L. Taw
                          2436 Silverstrand Avenue
                          Hermosa Beach, CA 90254
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                          Richard Taw
                          2438 Silverstrand Ave.
                          Hermosa Beach, CA 90254


                          RTMS #4052
                          2438 Silverstrand Ave.
                          Hermosa Beach, CA 90254


                          RTMS #4052, Inc.
                          2011 N. Oxnard Blvd.
                          Oxnard, CA 93036


                          San Luis Garbage Company
                          4388 Old Sante Fe Rd.
                          San Luis Obispo, CA 93401


                          Scott O'Brien Fire & Safety Inc.
                          5540 Nogales Ave.
                          Atascadero, CA 93422


                          Securitas Technology
                          514 S. Lyon St.
                          Santa Ana, CA 92701


                          So Cal Gas
                          2240 Emily St., Suite 140
                          San Luis Obispo, CA 93401


                          Spectrum
                          12051 Industry St.
                          Garden Grove, CA 92841
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                          State of California
                          Department of Industrial Relations
                          PO Box 511266
                          Los Angeles, CA 90051-7821


                          Thu Vu
                          1261 Travis Road Office 210
                          Fairfield, CA 94533


                          Transworld Systems
                          500 Virginia Dr. STE 514
                          Fort Washington, PA 19034-2733
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     Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
         RTMS 4107 Inc.                                                       ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 7

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                      PURSUANT TO FRBP 1007(a)(1)
                                                                                        and 7007.1, and LBR 1007-4


                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Richard Taw                                                             , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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